     Case 1:25-cv-01107-LLA    Document 92-1        Filed 04/25/25    Page 1 of 20




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


SUSMAN GODFREY LLP,

                Plaintiﬀ,

         v.                              No. 1:25-cv-01107-LLA

EXECUTIVE OFFICE OF THE
PRESIDENT, et al.,

                Defendants.



          BRIEF OF AMICUS CURIAE LAW FIRM PARTNERS UNITED INC.
        IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


Eric Olson*                                 David Zimmer*
Sean Grimsley*                              Eric Citron (D.D.C. Bar # 1001069)
Kenzo Kawanabe*                             Zimmer, Citron & Clarke, LLP
Abigail Hinchcliﬀ*                          130 Bishop Allen Drive
Jason Murray*                               Cambridge, MA 02139
Bianca Miyata*                              david@zimmercitronclarke.com
Olson Grimsley Kawanabe Hinchcliﬀ &         eric@zimmercitronclarke.com
Murray LLP
700 17th Street, Suite 1600
Denver, CO 80202
(303) 535-9151
eolson@olsongrimsley.com
sgrimsley@olsongrimsley.com
kkawanabe@olsongrimsley.com
ahinchcliﬀ@olsongrimsley.com
jmurray@olsongrimsley.com
bmiyata@olsongrimsley.com

*pro hac vice

                               Counsel for Amicus Curiae
      Case 1:25-cv-01107-LLA          Document 92-1        Filed 04/25/25      Page 2 of 20




                        CORPORATE DISCLOSURE STATEMENT

        Amicus curiae is a nonproﬁt professional association. It has no parent corporations and does

not issue stock.




                                                 i
         Case 1:25-cv-01107-LLA                              Document 92-1                     Filed 04/25/25                  Page 3 of 20




                                                         TABLE OF CONTENTS

CORPORATE DISCLOSURE STATEMENT ............................................................................................ i

INTEREST OF AMICUS CURIAE .............................................................................................................. 1

ARGUMENT ..................................................................................................................................................... 1

            A.          The Executive Order exceeds the President’s authority and intrudes on core
                        judicial functions...................................................................................................................... 2

            B.          The Executive Order violates the First Amendment. ....................................................... 6

            C.          The Executive Order violates the Fifth and Sixth Amendments. ................................... 9

CONCLUSION................................................................................................................................................11

CERTIFICATE OF COMPLIANCE ..........................................................................................................13




                                                                               ii
         Case 1:25-cv-01107-LLA                              Document 92-1                     Filed 04/25/25                  Page 4 of 20




                                                      TABLE OF AUTHORITIES

Cases

303 Creative LLC v. Elenis,
  600 U.S. 570 (2023) ........................................................................................................................................ 7
BE & K Const. Co. v. N.L.R.B.,
  536 U.S. 516 (2002) ........................................................................................................................................ 8
Collins v. Yellen,
  594 U.S. 220 (2021) ........................................................................................................................................ 3
Ex parte Garland,
  71 U.S. 333 (1866) ................................................................................................................................. 3, 4, 5
Forsyth Cnty., Ga. v. Nationalist Movement,
  505 U.S. 123 (1992) ........................................................................................................................................ 8
Goldsmith v. United States Bd. of Tax Appeals,
  270 U.S. 117 (1926) ........................................................................................................................................ 9
Greenlaw v. United States,
  554 U.S. 237 (2008) ........................................................................................................................................ 3
In re Snyder,
   472 U.S. 634 (1985) ........................................................................................................................................ 4
Jenner & Block LLP v. Dep’t of Just.,
   No. 25-cv-916, 2025 WL 946993 (D.D.C. Mar. 28, 2025) ...................................................................... 8
Joint Anti-Fascist Refugee Comm. v. McGrath,
   341 U.S. 123 (1951) ................................................................................................................................... 6, 9
Legal Servs. Corp. v. Velazquez,
  531 U.S. 533 (2001) ................................................................................................................................... 3, 6
Leis v. Flynt,
  439 U.S. 438 (1979) ........................................................................................................................................ 4
Lozman v. Riviera Beach,
  585 U.S. 87 (2018) .......................................................................................................................................... 8
Marbury v. Madison,
 5 U.S. 137 (1803) ............................................................................................................................................ 4
Martinez v. Ryan,
 566 U.S. 1 (2012) ..........................................................................................................................................10
Minnesota v. Mille Lacs Band of Chippewa Indians,
  526 U.S. 172 (1999) ........................................................................................................................................ 5
Nat’l Riﬂe Ass’n v. Vullo,
  602 U.S. 175 (2024) ........................................................................................................................................ 7
Powell v. Alabama,
  287 U.S. 45 (1932) ........................................................................................................................................10


                                                                               iii
          Case 1:25-cv-01107-LLA                              Document 92-1                      Filed 04/25/25                   Page 5 of 20




Roadway Exp., Inc. v. Piper,
  447 U.S. 752 (1980 ......................................................................................................................................... 5
Rosenberger v. Rector & Visitors of Univ. of Va.,
  515 U.S. 819 (1995) ........................................................................................................................................ 7
United States v. Brown,
  381 U.S. 437 (1965) ........................................................................................................................................ 5
W. Va. State Bd. of Educ. v. Barnette,
  319 U.S. 624 (1943) ........................................................................................................................................ 7
Wilmer Cutler Pickering Hale & Dorr LLP v. Exec. Oﬀice of the President,
  No. 25-cv-917, 2025 WL 946979 (D.D.C. Mar. 28, 2025) ...................................................................... 8
Other Authorities

37 C.F.R. Part 11 ................................................................................................................................................. 4
Alison Knezevich, BigLaw Shying Away From Some Pro Bono Work ‘Out of Fear’,
   LAW360, Apr. 10, 2025 .................................................................................................................................. 4
Michael Birnbaum, Law Firms Refuse to Represent Trump Opponents in the Wake of His Attacks,
  WASHINGTON POST, Mar. 25, 2025 ............................................................................................................ 4
Ryan Lucas, Trump Attacks on Law Firms Begin to Chill Pro Bono Work on Causes He Doesn’t Like,
  NPR, Apr. 13, 2025 ....................................................................................................................................... 3
TRO Hr’g Tr. (ECF No. 22) at 74:7-21,
  Perkins Coie LLP v. Dep’t of Just., No. 1:25-cv-716 (D.D.C. Mar. 12, 2025) ........................................... 8
U.S. Const. art. I, § 10 ................................................................................................................................... 5, 6
U.S. Const. art. I, § 9 ..................................................................................................................................... 5, 6




                                                                                 iv
      Case 1:25-cv-01107-LLA            Document 92-1         Filed 04/25/25       Page 6 of 20




                                 INTEREST OF AMICUS CURIAE

          Law Firm Partners United Inc. (“LFPU”) is a professional association that includes over 700

partners and shareholders at law ﬁrms often called the “AmLaw 200” and includes the individuals

identiﬁed in Exhibit A. The members of LFPU are acting in their personal capacity and not on behalf

of any ﬁrm or in their role as law ﬁrm partners or shareholders. LFPU is a nonpartisan organization

bound by a commitment to the rule of law and opposition to fundamental unconstitutional attacks

against lawyers and law ﬁrms. LFPU’s members represent a broad range of practices in every quartile

of the AmLaw 200 and have served as ﬁrm chairs, global practice group leaders, oﬀice managing

partners, and equity partners. Many of its members are globally recognized leaders in their respective

ﬁelds.1

                                            ARGUMENT

          Amicus’s members are hundreds of individuals who are partners or shareholders at the nation’s

top law ﬁrms, and who have diverse and bipartisan views on matters of law and policy. But the

members are united by the principle that our Constitution protects the right of lawyers to choose their

cases and to zealously represent their clients without fear of reprisal by the government.

          The Executive Orders targeting Susman Godfrey and other law ﬁrms threaten the legal

profession, the judiciary, and the rule of law itself. Susman was singled out because the Executive

branch disapproves of some of its representations where it won in civil cases between private parties—

work that nearly all law ﬁrms engage in. Orders like this tell the entire profession that taking on cases

and clients that are out of favor with the current administration may result in severe retaliation.



1
 In accordance with Federal Rule of Appellate Procedure 29(a)(4)(E), amicus certiﬁes that (1) this brief
was authored entirely by counsel for amicus and not by counsel for any party, in whole or part; (2) no
party or counsel for any party contributed money to fund preparing or submitting this brief; and (3)
apart from counsel for amicus, no other person contributed money to fund preparing or submitting
this brief.



                                                    1
          Case 1:25-cv-01107-LLA         Document 92-1        Filed 04/25/25      Page 7 of 20




           Throughout the legal industry, clients who previously had no diﬀiculty ﬁnding representation

are now being turned away by those who worry that taking the cases might risk Presidential

disapproval. And many clients now worry that they will be targeted for retribution if they hire law ﬁrms

who are or might become targets of a similar executive order. This fear erodes the independence of

the bar and the protection of those seeking vindication of Constitutional rights. And because courts

cannot decide cases that lawyers do not bring, these executive orders undermine our system of justice

itself.

           The Court should reject this unconstitutional Executive Order quickly, deﬁnitively, and with

the forceful permanent injunctive relief the wrong requires. The Executive Order intrudes on the

courts’ Article III power to decide cases based on zealous adversarial presentation, while exceeding

the President’s limited Article II authority. It violates Susman’s First Amendment rights by retaliating

against Susman for the views it and its clients have expressed and for its protected activity petitioning

the courts on behalf of its clients. And by punishing both Susman and its clients through executive

ﬁat, the orders violate the Fifth Amendment’s guarantee of due process as well as the Fifth and Sixth

Amendments’ right to counsel.

           A.     The Executive Order exceeds the President’s authority and intrudes on core
                  judicial functions.

           The Executive Order and others like it undermine the legal profession and the judiciary that

depends on it. The prospect of being the next target of an unconstitutional order looms large over

any law ﬁrm that might wish to represent causes or clients disapproved of by the administration. By

deterring zealous advocacy of disfavored positions, the executive orders undermine the adversarial

process on which Article III courts depend. In doing so, the executive orders assert a power to punish

lawyers by extrajudicial decree—a power nowhere given to the President expressly or by implication

in Article II.




                                                    2
      Case 1:25-cv-01107-LLA            Document 92-1          Filed 04/25/25        Page 8 of 20




        Attorneys “are oﬀicers of the court,” Ex parte Garland, 71 U.S. 333, 378 (1866), and the

independence of the legal profession is a foundation on which Article III rests. “An informed,

independent judiciary presumes an informed, independent bar.” Legal Servs. Corp. v. Velazquez, 531

U.S. 533, 545 (2001). That is because our “adversary system” follows “the principle of party

presentation.” Greenlaw v. United States, 554 U.S. 237, 243 (2008). Attorneys determine which claims

have enough merit to present in court, and which arguments to make in support of them.

        If lawyers are unwilling to take on certain cases or clients due to the threat of retribution, those

clients’ cases may never reach a court—eﬀectively stripping those clients of the rights the law protects.

And because “[c]ounsel almost always know a great deal more about their cases than [courts] do,” id.,

zealous presentation by counsel is needed to ensure that courts can dispense justice to parties that

petition the courts for redress. Indeed, adversarial presentation is so crucial to the judicial function

that the U.S. Supreme Court frequently appoints counsel to defend potentially meritorious positions

that the parties have abandoned. See, e.g., Collins v. Yellen, 594 U.S. 220, 236 (2021). Given the

importance of adversarial presentation, restrictions on the positions lawyers may take in court are

“inconsistent with accepted separation-of-powers principles” and “threaten[] severe impairment of

the judicial function.” Velazquez, 531 U.S. at 546 (invalidating law prohibiting recipients of legal

services funds from challenging welfare laws in court).

        Unless courts act quickly, these orders may bend the bar—and through it, the judicial system—

to the will of the Executive. Since these executive orders were announced, numerous nonproﬁt

organizations have reported a reduction in pro bono support and willingness to tackle representations

that may be at odds with the preferences of the President. See Ryan Lucas, Trump Attacks on Law Firms

Begin to Chill Pro Bono Work on Causes He Doesn’t Like, NPR, Apr. 13, 2025. And lawyers have hesitated

to take positions not currently in favor with the Executive branch—whether challenging

administrative regulations on behalf of businesses, taking on pro bono representation of immigrants



                                                     3
      Case 1:25-cv-01107-LLA             Document 92-1          Filed 04/25/25        Page 9 of 20




seeking asylum, or advocating positions that may seem controversial. See, e.g., Michael Birnbaum, Law

Firms Refuse to Represent Trump Opponents in the Wake of His Attacks, WASHINGTON POST, Mar. 25, 2025;

Alison Knezevich, BigLaw Shying Away From Some Pro Bono Work ‘Out of Fear’, LAW360, Apr. 10, 2025.

Some of amicus’s members have seen that litigants whose interests run counter to the administration

are now being turned away by lawyers that would ordinarily handle these cases with zeal. If the

independent bar is cowed into submission by the threat of retaliation, clients will be unable to obtain

the representation they need to challenge Executive action in court. And Article III courts, in turn,

will be unable to play their role in the Constitutional framework: to “say what the law is.” Marbury v.

Madison, 5 U.S. 137, 177 (1803).

        It is precisely because the bench depends on the bar that courts—not the President—have the

power to discipline attorneys for their litigation activities. Article III bestows federal courts with

“inherent authority” to discipline lawyers that appear before the court, which “derives from the

lawyer’s role as an oﬀicer of the court which granted admission.” In re Snyder, 472 U.S. 634, 643 (1985).2

When appearing before a court, attorneys “engag[e] in the exercise of . . . judicial functions.” Ex parte

Garland, 71 U.S. at 379. The attorney holds oﬀice “by the solemn judicial act of the court,” and not

“as a matter of grace and favor.” Id. Thus, “[t]he right” to “appear for suitors, and to argue causes, is

something more than a mere indulgence, revocable at the pleasure of the court, or at the command of

the legislature. It is a right of which he can only be deprived by the judgment of the court, for moral

or professional delinquency.” Id. (emphasis added).3


2
 For federal courts, the power to discipline attorneys is a feature of the judiciary’s Article III obligation
to adjudicate Cases and Controversies. And for cases in state court, “[s]ince the founding of the
Republic, the licensing and regulation of lawyers has been left exclusively to the States and the District
of Columbia within their respective jurisdictions.” Leis v. Flynt, 439 U.S. 438, 442 (1979).
3
  Executive agencies that perform quasi-judicial functions also have historically exercised limited
authority to regulate the conduct of attorneys when they appear before those agencies. See, e.g., 37
C.F.R. Part 11 (concerning practice of law before the United States Patent and Trademark Oﬀice).



                                                     4
     Case 1:25-cv-01107-LLA            Document 92-1         Filed 04/25/25       Page 10 of 20




        An order that punishes lawyers and law ﬁrms for their clients or legal positions usurps this

core judicial function. The Executive Order targets Susman for what it claims were eﬀorts “to

weaponize the American legal system and degrade the quality of American elections”—a reference to

Susman’s winning of a high-proﬁle case that the administration dislikes. And the Executive Order

purports to punish Susman for its protected activity in court without any of the procedural safeguards

that attend court-imposed sanctions of attorneys. Judicially imposed sanctions require a showing that

the attorney has engaged in bad faith, vexatious, or otherwise unethical conduct—as well as notice

and an opportunity to be heard on those allegations. See, e.g., Ex parte Garland, 71 U.S. at 378

(disbarment requires a “judgment of the court after opportunity to be heard has been aﬀorded”);

Roadway Exp., Inc. v. Piper, 447 U.S. 752, 767 (1980) (attorney fee sanctions against lawyers “should not

be assessed lightly or without fair notice and an opportunity for a hearing on the record”). The

Executive Order contains none of these safeguards. It simply declares, by executive ﬁat, that Susman’s

representation of its clients involved “egregious conduct” that posed “signiﬁcant risks.” EO § 1.

        The Executive Order fails to present evidence to support any assertion of wrongdoing by

Susman. And that is precisely the point. As opposed to judicial regulation that carries with it

established due process rights, the Executive Order resembles a bill of attainder—a bare and

unreviewable declaration of wrongdoing followed by punishment. U.S. Const. art. I, §§ 9, 10; see United

States v. Brown, 381 U.S. 437, 442-44 (1965).

        The Executive Branch lacks constitutional or statutory authority to punish disfavored law

ﬁrms by decree. It is “black letter law” that “[t]he President’s power, if any, to issue [an executive

order] must stem either from an act of Congress or from the Constitution itself.” Minnesota v. Mille

Lacs Band of Chippewa Indians, 526 U.S. 172, 188-89 (1999) (quotation omitted). The Executive Order


But any such authority would not permit the President to commandeer the role of Article III courts
in regulating attorneys for their conduct as oﬀicers of those courts.



                                                   5
     Case 1:25-cv-01107-LLA            Document 92-1         Filed 04/25/25       Page 11 of 20




points to no federal statute authorizing punishment of law ﬁrms for the positions they take in court.

Nor can any such authority be gleaned from even the most aggressive reading of Article II. Rather,

the Constitution’s blanket prohibitions on bills of attainder by both the federal and state government

reveal that no part of our government is entrusted with the power to make extra-judicial proclamations

of guilt. See Art. 1 §§ 9, 10. To be sure, the Constitution’s attainder clauses explicitly mention only

legislative rather than executive action. But that was surely because the Founders understood that, in

the absence of attainder legislation, nothing in Article II permits the President to impose attainder by

executive ﬁat. As Justice Black wrote in condemning anti-Communist blacklists established by

executive order: “I cannot believe that the authors of the Constitution, who outlawed the bill of

attainder, inadvertently endowed the executive with power to engage in the same tyrannical practices

that had made the bill such an odious institution.” Joint Anti-Fascist Refugee Comm. v. McGrath, 341 U.S.

123, 143 (1951) (Black, J., concurring).

        The Executive Order and those like it resurrect that same “odious institution”—and represent

an Executive branch intrusion on powers given to the judiciary. These orders would erode the courts’

Article III power to hear Cases and Controversies by intimidating lawyers who zealously advocate for

causes that the administration disapproves. And they do so without any Article II or statutory

authority. The Court should reject this violation of foundational separation-of-powers principles.

        B.      The Executive Order violates the First Amendment.

        By punishing Susman for defending the views of its clients and petitioning the government on

their behalf, the Executive Order violates a litany of independent First Amendment guarantees. See

Velazquez, 531 U.S. at 542 (upholding First Amendment claim of “lawyer” who “speaks on behalf of

his or her . . . client”). Those include the bar on retaliation for protected speech, the prohibition on

viewpoint discrimination, and the right to petition government. By putting law ﬁrms’ speech in the




                                                   6
     Case 1:25-cv-01107-LLA            Document 92-1         Filed 04/25/25       Page 12 of 20




crosshairs, the executive orders have chilled the ability of lawyers and their clients to exercise their

First Amendment right to seek redress through the courts.

        The Executive Order violates the First Amendment’s bar on retaliation because it “rel[ies] on

the threat of invoking legal sanctions and other means of coercion . . . to achieve the suppression of

disfavored speech.” Nat’l Riﬂe Ass’n v. Vullo, 602 U.S. 175, 189 (2024) (quotation omitted). Just last

year in Vullo, the Supreme Court unanimously found that the National Riﬂe Association stated a First

Amendment claim by alleging that a state oﬀicer “pressured regulated entities to help her stiﬂe the

NRA’s pro-gun advocacy by threatening enforcement actions against those entities that refused to

dissociate from the NRA.” Id. at 180. That is exactly what the Executive Order does here. It targets

Susman for its prior litigation and advocacy activities, see EO § 1, and then threatens those clients who

“refuse to dissociate from” Susman with the termination of their government contracts, id. § 3.

        So too does the Executive Order target Susman because of the views Susman has expressed

on behalf of its clients. See Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995)

(viewpoint discrimination is a “blatant” First Amendment violation) By its own terms, the Order

targets Susman for speech that the President claims is “detrimental to critical American interests,”

such as positions Susman took in litigation related to the 2020 election, or positions that supposedly

“undermine the eﬀectiveness of the United States military through the injection of political and racial

ideology.” See EO § 1. But “no oﬀicial, high or petty, can prescribe what shall be orthodox in politics,

nationalism, religion, or other matters of opinion.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624,

642 (1943). That is true even where some might insist censoring the speech is “essential for the welfare

of the state.” 303 Creative LLC v. Elenis, 600 U.S. 570, 601-02 (2023) (quoting Barnette, 319 U.S. at 642,

662-663).

        The Executive Order also undermines the First Amendment’s right “to petition the

Government for a redress of grievances”—which is “one of the most precious of the liberties



                                                    7
     Case 1:25-cv-01107-LLA             Document 92-1         Filed 04/25/25       Page 13 of 20




safeguarded by the Bill of Rights.” BE & K Const. Co. v. N.L.R.B., 536 U.S. 516, 524 (2002) (quotation

omitted). “[T]he right of access to the courts” is, of course, “one aspect of the right to petition.” Id.

at 525. Thus, when the government retaliates against someone for ﬁling “a lawsuit against the

[government]” or for “his criticism of public oﬀicials,” the government infringes an interest that falls

“high in the hierarchy of First Amendment values.” Lozman v. Riviera Beach, 585 U.S. 87, 101 (2018).

Yet the Order does just that, retaliating against Susman for its prior (successful) litigation on behalf of

its clients. The Order also impedes Susman’s ability to petition the government for clients in the future.

It purports to restrict Susman’s access to federal government buildings (including federal agencies and

even federal courthouses) whenever the government determines such access would be “inconsistent

with the interests of the United States.” EO § 5(a). Susman’s First Amendment right to petition

government for clients cannot rise or fall on the “unbridled discretion” of executive branch

bureaucrats and their subjective political assessment of the national interest. Forsyth Cnty., Ga. v.

Nationalist Movement, 505 U.S. 123, 133 (1992).

        When the government targets protected speech as these executive orders do, the chilling eﬀect

is severe. Indeed, these orders have suppressed speech even though every court to consider them has

held them to be unconstitutional. See Wilmer Cutler Pickering Hale & Dorr LLP v. Exec. Oﬀice of the

President, No. 25-cv-917, 2025 WL 946979, at *2 (D.D.C. Mar. 28, 2025); TRO Hr’g Tr. (ECF No. 22)

at 74:7-21, Perkins Coie LLP v. Dep’t of Just., No. 1:25-cv-716 (D.D.C. Mar. 12, 2025); Jenner & Block

LLP v. Dep’t of Just., No. 25-cv-916, 2025 WL 946993 (D.D.C. Mar. 28, 2025). Despite that, some of

amicus’s members have continued to observe many lawyers declining representations they would

otherwise take on, out of concern that those representations might trigger retaliation. See supra at 3-4.

They have also continued to observe clients hesitate about hiring law ﬁrms that might become the

President’s next target. The orders are having their intended eﬀect.




                                                    8
     Case 1:25-cv-01107-LLA            Document 92-1         Filed 04/25/25       Page 14 of 20




        This Court should act quickly to restore conﬁdence that lawyers, their clients, and most

importantly the public, may petition the courts for redress—including redress against the

government—without threat of retribution.

        C.      The Executive Order violates the Fifth and Sixth Amendments.

        By punishing both Susman and its clients by executive decree, the Executive Order also

tramples upon the Fifth and Sixth Amendment’s guarantees of due process and right to counsel.

        Without providing Susman with any semblance of notice or due process, the Executive Order

seeks to restrict Susman’s ability to practice law and do business. Goldsmith v. United States Bd. of Tax

Appeals, 270 U.S. 117, 123 (1926) (due process requires notice, hearing, and opportunity to respond

before limiting an attorney’s ability to practice law through suspension or disbarment). The Order

purports to deprive Susman and its attorneys of security clearances, any government goods or services

provided for the beneﬁt of Susman, the ability to petition the government, and access to government

buildings including the very federal courthouses where Susman’s attorneys advocate for their clients.

EO §§ 2, 5. The Executive Order requires government agencies to terminate any contracts held by

Susman and even reaches beyond the government’s own dealings with Susman to require any

government contractors to disclose business they do with Susman—regardless of whether that business

is related to the government contract or not. EO § 3. Such conduct through executive order, taken

“without notice, without disclosure of any reasons justifying it, without opportunity to meet the

undisclosed evidence or suspicion on which [the action] may have been based, and without

opportunity to establish [innocence]” before a neutral arbiter oﬀends the Due Process Clause of the

Fifth Amendment and cannot stand. Joint Anti-Fascist Refugee Comm., 341 U.S. at 161 (Frankfurter, J.

concurring).

        By threatening to punish Susman’s clients for their choice of counsel, the Order also interferes

with the right to counsel guaranteed by the due process clause of the Fifth Amendment as well as, in



                                                   9
     Case 1:25-cv-01107-LLA            Document 92-1         Filed 04/25/25       Page 15 of 20




criminal cases, the Sixth Amendment. See, e.g. Powell v. Alabama, 287 U.S. 45, 60, 53, 69 (1932) (due

process, in civil and criminal cases, requires “a fair opportunity to secure counsel of [the party’s] own

choice”). “The right to be heard would be, in many cases, of little avail if it did not comprehend the

right to be heard by counsel.” Id. at 68-69. Yet the Executive Order disrupts the attorney-client

relationship: if a Susman client does business with the government, the government now claims they

must choose between either endangering that business relationship or abandoning their counsel of

choice. And a potential client who wishes for Susman to represent them may balk at the prospect of

hiring an attorney who may face arbitrary restrictions on their ability to interact with federal employees

or enter federal courthouses. Stated plainly, a party has the right to disagree with the government and

to use lawyers in court to have their grievances heard fairly and impartially. The Executive Order

impairs this basic right fundamental to our system of government and interfere with the checks and

balances our Constitution holds so dear.

        The eﬀects of the Executive Order’s interference in the attorney-client relationship are far-

reaching and signiﬁcant. The reputational stigma of being named by the President as a law ﬁrm acting

against critical American interests cannot be overstated. This stigma impairs a client’s selection of

counsel and warns both current and prospective clients that these attorneys may not be able to

adequately represent their interests if those interests run afoul of the Executive’s wishes. In so doing,

the Order undermines “the right to counsel [that] is the foundation for our adversary system.” Martinez

v. Ryan, 566 U.S. 1, 12 (2012). And the Order seeks to intrude into the representation an attorney may

provide by discouraging arguments and positions perceived to conﬂict with the administration. If

clients believe attorneys will refrain from making certain arguments on their behalf due to fear of

retribution, their trust in the attorney-client relationship would be eroded. Undermining a client’s right

to the counsel of their choice undermines their ability to rely on the law in defense of their interests,

their rights, and their communities.



                                                   10
     Case 1:25-cv-01107-LLA           Document 92-1         Filed 04/25/25      Page 16 of 20




                                          CONCLUSION

       Representing unpopular clients has always come with risks for lawyers. But having the

government impose serious consequences on lawyers for conducting zealous advocacy does not

reﬂect who we are as a nation. Amicus respectfully urges the Court to swiftly and decisively invalidate

the Executive Order. The Constitution and the rule of law require nothing less.




                                                  11
    Case 1:25-cv-01107-LLA   Document 92-1       Filed 04/25/25     Page 17 of 20




Dated: April 25, 2025                     Respectfully submitted,


                                          /s/Eric Olson

                                          Eric Olson*
                                          Sean Grimsley*
                                          Kenzo Kawanabe*
                                          Abigail Hinchcliﬀ*
                                          Jason Murray*
                                          Bianca Miyata*
                                          Olson Grimsley Kawanabe Hinchcliﬀ &
                                          Murray LLP
                                          700 17th Street, Suite 1600
                                          Denver, CO 80202
                                          (303) 535-9151
                                          eolson@olsongrimsley.com
                                          sgrimslely@olsongrimsley.com
                                          kkawanabe@olsongrimsley.com
                                          ahinchcliﬀ@olsongrimsley.com
                                          jmurray@olsongrimsley.com
                                          bmiyata@olsongrimsley.com

                                          David Zimmer*
                                          Eric Citron (D.D.C. Bar # 1001069)
                                          Zimmer, Citron & Clarke, LLP
                                          130 Bishop Allen Drive
                                          Cambridge, MA 02139
                                          david@zimmercitronclarke.com
                                          eric@zimmercitronclarke.com


                                          *pro hac vice




                                     12
     Case 1:25-cv-01107-LLA          Document 92-1        Filed 04/25/25      Page 18 of 20




                             CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing complies with Local Civil Rule 7(o)(4) and does not exceed

25 pages. I further certify that the attached amicus brief complies with the typeface and type style

requirements of Local Rule 5.19(d) because it has been prepared in a proportionally spaced typeface

using Microsoft Word and 12-point Garamond font.



 Dated: April 25, 2025                             /s/Eric Olson




                                                13
     Case 1:25-cv-01107-LLA           Document 92-1         Filed 04/25/25       Page 19 of 20




                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2025, I electronically ﬁled the foregoing with the Clerk of the

Court using the CM/ECF system. Notice of this ﬁling will be sent to all attorneys of record by

operation of the Court’s electronic ﬁling system.



                                                     /s/Eric Olson




                                                    14
     Case 1:25-cv-01107-LLA        Document 92-1       Filed 04/25/25   Page 20 of 20

                                          Exhibit A


Rahul Agarwal                   Abbey B. Garber                Jennifer G. Redmond
Ariel Anaba                     Aaron D. Goldstein             Robert B. Remar
Saurish Appleby-Bhattacharjee   Howard Goldwasser              Joshua M. Robbins
Reena Bajowala                  William L. Greene              Tenaya Rodewald
Gurpreet Bal                    Jack Hamilton                  Sharon Rosenberg
Alexandra Steinberg Barrage     Joshua Hartman                 Aaron P. Rubin
Katherine M. Basile             Sherry Haus                    Michael Santos
Elizabeth Bawden                Julia R. Hesse                 Eric A. Savage
David Berger                    Kristin P. Housh               Elizabeth Sbardellati
Steve Berkman                   Caitlin L.D. Hull              Anthony Sbardellati
Monique N. Bhargava             Stephen J. Humes               Dr. Jan Schinköth
R. Lance Boldrey                Sam Hyde                       John Sear
Matthew Bornfreund              Christopher C. Johns           Evan L. Seite
Charan Brahma                   David H. Kaufman               Raja Sekaran
Eric Breitman                   Sarah Kelly-Kilgore            Alaap Shah
Thomas W. Brooke                Hwan Kim                       Myra Sutanto Shen
Tamara Bruno                    Erin Kinney                    Jack Sholkoff
Patrick J. Cain                 Heather M. Lambert             S. Montaye Sigmon
Andrew Carlon                   Marc D. Latman                 Stosh M. Silivos
David J. Carrier                Bonnie Lau                     David L. Simons
Suman Chakraborty               Ethan Lutske                   Nancy Sotomayor
Neel Chatterjee                 Matthew Macdonald              Jason Swartz
Stan Chiueh                     Angela M. Machala              Vanessa J. Szalapski
Jascha Clark                    Kevin Malone                   Trevor N. Templeton
Sarah Columbia                  James W. Matthews              Lyman Thai
Julie Connelly                  Heidi Mayon                    J. D. Thomas
Paul Cowie                      Mark S. Melodia                Robert P. Tiplady II
Ben Crosson                     Jonathan E. Meyer              Stuart Tochner
Sanjeet Dutta                   Joseph M. Miller               Michael J. Tuteur
Maria B. Earley                 Melissa Mills                  James A. Unger
Bonnie Eskenazi                 Haley Morrison                 Nisha Verma
Elizabeth A. Falcone            Brian Moskal                   Edward Weil
Jennifer Fang                   Alysha M. Naik                 Rebecca A. Wilsker
Kyle R. Freeny                  Andrew Ong                     Bryan Wilson
Brian K. French                 Neil Popovic                   Lynne Xerras
Scott French                    Margaux Poueymirou             Babak Yousefzadeh
Marc A. Fuller                  Magan Pritam Ray
